Case 2:14-cv-00069-RSP Document 12 Filed 04/28/14 Page 1 of 2 PageID #: 34



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 BRIGHT RESPONSE, LLC,                              )
                                                    )
                Plaintiff,                          )
                                                    ) Civil Action No. 2:14-cv-69
 v.                                                 )
                                                    )
 VERINT SYSTEMS INC.,                               )
                                                    )
                Defendant.                          )
                                                    )

           STIPULATED MOTION FOR DISMISSAL WITH PREJUDICE

        The plaintiff Bright Response, LLC and defendant Verint Systems Inc., pursuant

 to Fed. R. Civ. P. 41(a)(2) and (c), hereby move for an order dismissing all claims

 in this action WITH PREJUDICE, subject to the terms of that certain agreement

 entitled "SETTLEMENT A N D L I C E N S E AGREEMENT" and dated April 28,

 2014, with each party to bear its own costs, expenses and attorneys' fees.

 /s/ Andrew W. Spangler                               /s/ Michael C. Smith
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Case 2:14-cv-00069-RSP Document 12 Filed 04/28/14 Page 2 of 2 PageID #: 35



                               CERTIFICATE OF SERVICE

         I hereby certify that on April 28, 2014, I electronically filed the above

 document(s) with the Clerk of Court using CM/ECF which will send electronic

 notification of such filing(s) to all registered counsel.



                                                 /s/ Andrew W. Spangler
                                                 Andrew W. Spangler
